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                             UNITED STATES DISTRICT COURT

                              DISTRICT OF MASSACHUSETTS



SECURITIES AND EXCHANGE
COMMISSION,                                       Civil Action No. 1:17-cv-11633

               Plaintiff,

       v.

NAVELLIER & ASSOCIATES, INC.,
and LOUIS NAVELLIER,

               Defendants.




         DEFENDANTS’ REQUEST AND MEMORANDUM FOR EX PARTE
        CONSIDERATION OF THEIR MOTION FOR TEMPORARY STAY OF
                  ENFORCEMENT OF FINAL JUDGMENT


       On June 22, 2020 Defendants filed an emergency motion to stay enforcement of the Final

Judgment pending appeal (DKT#301). Defendants hereby request the Court to temporarily stay

enforcement at least as to the monetary portion of the Final Judgment until this Court rules on

Defendants’ motion for stay/reduced supersedeas bond (DKT#301). The 30 day stay on

enforcement of the monetary portion of the Final Judgment is currently set to expire on July 2,

2020. (DKT#285, II p. 3). Without the temporary stay which Defendants are requesting herein,

the briefing and a decision on Defendants’ motion to stay enforcement pending appeal and or

reduced supersedeas bond may not be briefed and decided before July 2, 2020. Therefore

Defendants ex parte request the Court to immediately grant a short, temporary stay extending the

pending stay/reduced bond motion beyond July 2, 2020 so the SEC can file its response, if any,




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to Defendants’ pending stay/reduced bond, and Defendants can reply, if necessary and permitted,

and so this Court can then rule on the motion.



                            Background As To Stay/Bond Reduction

       One June 16, 2020 the undersigned counsel for the Navellier Defendants contacted

counsel for the SEC to discuss a stipulation to stay enforcement and/or reducing the amount of a

supersedeas bond due to Defendants’ lack of financial ability to obtain or post a $34 million

supersedeas bond or anything near it. (Exhibit 1).

       On June 17, 2020 the undersigned counsel and SEC counsel met and conferred and

discussed the supersedeas bond situation. (Exhibit 2). The undersigned understood that the SEC

would agree to the posting of a $2.8 to $3 million supersedeas cash bond to stay enforcement of

the monetary portion of the Final Judgment, but would not agree to a stay of the injunctive

portion of the Final Judgment, but if progress was being made on obtaining a $2.8-$3 million

supersedeas bond the SEC probably would agree to a continued temporary stay of enforcement

of the monetary award beyond July 2, 2020 so Defendants could obtain a bond and to enter into

an agreeable asset restriction agreement restricting disposition and further encumbrances of

Defendants’ assets that were subject to enforcement.

       On June 18, 2020 the undersigned counsel sent SEC counsel a draft proposal asset

restriction agreement as part of a proposed agreement for a proposed, Court-approved, reduced

supersedeas bond and stay of enforcement. (Exhibit 3).

       On June 19, 2020 Appellants’ counsel called SEC counsel to discuss the proposed asset

restriction agreement and Appellants’ property legally available for enforcement in light of

Appellants’ now access to property held as tenants by the entirety with Mr. Navellier’s wife.




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(Exhibit 4). During that call SEC counsel informed Appellants’ counsel that the SEC would not

agree to a $2.8-$3 million bond and that what he had meant was a bond in the greatest amount

that could be obtained from pledging $2.8-$3 million in cash to the bond issuer. The undersigned

expressed surprise and extreme displeasure at the SEC’s position and at having delayed filing a

motion for reduced bond based on his belief that the SEC would stipulate to a reduced bond in

the amount of $2.8-$3 million, if Defendants could obtain one in that amount.

       On June 22, 2020 Defendants filed the emergency motion to stay and/or reduce

supersedeas bond. (DKT’s#301 and 302).

       On June 23, 2020 Defendants requested leave to file Mr. Navellier’s declaration and

accompanying financial information under seal. (DKT#303).

       On June 24, 2020 the First Circuit Court of Appeals denied, without prejudice,

Defendants’ motion to stay due to Defendants’ failure to first seek that relief in this Court.

(Exhibit 5).

       Defendants do not have the financial ability to obtain or post a $34 million bond or

anything near it. Defendants and their undersigned counsel have been attempting to obtain the

maximum bond they are able to procure, and believe Defendants can obtain a $2.8 to $3 million

supersedeas bond.

       The undersigned met and conferred with SEC counsel to attempt to obtain its assent to

this ex parte motion for temporary stay but was not able to obtain SEC assent to a short,

temporary stay.




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                                        CONCLUSION

       Because of the time urgency of this request for a short, temporary stay, and the inability

to reach agreement with the SEC for assent to this stay request, this temporary stay motion

should be granted.




                                                     Respectfully submitted,

DATED: June 25, 2020                  LAW OFFICES OF SAMUEL KORNHAUSER
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                            LOCAL RULE 7.1 CERTIFICATION

       On June 25, 2020 the undersigned attempted to meet and confer with SEC counsel by

email to obtain the SEC’s assent to a short, temporary stay, extending the current stay of

enforcement from July 2, 2020 to the date when this Court rules on Defendants pending motion

for stay/reduced supersedeas bond (DKT#301). The undersigned has not as yet received a

response.



Dated: June 25, 2020                                         By: /s/ Samuel Kornhauser
                                                                    Samuel Kornhauser

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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document was filed on this date through the ECF system and will

be sent to the registered participants as identified on the Notice of Electronic Filing (NEF) as of

this date of this filing.



June 25, 2020                                         By: Dan Cowan
                                                          Dan Cowan




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